         Case 2:21-cv-12871-MAG-APP ECF No. 56, PageID.1248 Filed 05/31/22 Page 1 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action



                                            UNITED STATES DISTRICT COURT
                                                             for the
                                                  Eastern District of Michigan


Riley Franz, et. al                                            )
                                                               )
                                                               )
v.                                                             )            Civil Action No. 21-12871
                                                               )
                                                               )
Oxford Community School District, et. al                       )
                                                               )            Hon. Mark A. Goldsmith
                                                               )
                                                               )
                                                               )

                                                 SUMMONS IN A CIVIL ACTION

To:        Nicholas Ejak



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Milica Filipovic
               Fieger, Fieger, Kenney & Harrington
               19390 West Ten Mile Road
               Southfield, MI 48075-2463




       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


.,1,.,$D(66,;, CLERK OF COURT                             By: s/K. Brown
                                                                   Signature of Clerk or Deputy Clerk

                                                                   Date of Issuance: May 31, 2022
         Case 2:21-cv-12871-MAG-APP ECF No. 56, PageID.1249 Filed 05/31/22 Page 2 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 21-12871
                                                               Hon. Mark A. Goldsmith

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Nicholas Ejak
 was received by me on (date)                                       .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature


                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
         Case 2:21-cv-12871-MAG-APP ECF No. 56, PageID.1250 Filed 05/31/22 Page 3 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action



                                            UNITED STATES DISTRICT COURT
                                                             for the
                                                  Eastern District of Michigan


Riley Franz, et. al                                            )
                                                               )
                                                               )
v.                                                             )            Civil Action No. 21-12871
                                                               )
                                                               )
Oxford Community School District, et. al                       )
                                                               )            Hon. Mark A. Goldsmith
                                                               )
                                                               )
                                                               )

                                                 SUMMONS IN A CIVIL ACTION

To:        Shawn Hopkins



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Milica Filipovic
               Fieger, Fieger, Kenney & Harrington
               19390 West Ten Mile Road
               Southfield, MI 48075-2463




       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


.,1,.,$D(66,;, CLERK OF COURT                             By: s/K. Brown
                                                                   Signature of Clerk or Deputy Clerk

                                                                   Date of Issuance: May 31, 2022
         Case 2:21-cv-12871-MAG-APP ECF No. 56, PageID.1251 Filed 05/31/22 Page 4 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 21-12871
                                                               Hon. Mark A. Goldsmith

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Shawn Hopkins
 was received by me on (date)                                        .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature


                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
         Case 2:21-cv-12871-MAG-APP ECF No. 56, PageID.1252 Filed 05/31/22 Page 5 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action



                                            UNITED STATES DISTRICT COURT
                                                             for the
                                                  Eastern District of Michigan


Riley Franz, et. al                                            )
                                                               )
                                                               )
v.                                                             )            Civil Action No. 21-12871
                                                               )
                                                               )
Oxford Community School District, et. al                       )
                                                               )            Hon. Mark A. Goldsmith
                                                               )
                                                               )
                                                               )

                                                 SUMMONS IN A CIVIL ACTION

To:        Pamela Fine



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Milica Filipovic
               Fieger, Fieger, Kenney & Harrington
               19390 West Ten Mile Road
               Southfield, MI 48075-2463




       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


.,1,.,$D(66,;, CLERK OF COURT                             By: s/K. Brown
                                                                   Signature of Clerk or Deputy Clerk

                                                                   Date of Issuance: May 31, 2022
         Case 2:21-cv-12871-MAG-APP ECF No. 56, PageID.1253 Filed 05/31/22 Page 6 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 21-12871
                                                               Hon. Mark A. Goldsmith

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Pamela Fine
 was received by me on (date)                                        .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature


                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
         Case 2:21-cv-12871-MAG-APP ECF No. 56, PageID.1254 Filed 05/31/22 Page 7 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action



                                            UNITED STATES DISTRICT COURT
                                                             for the
                                                  Eastern District of Michigan


Riley Franz, et. al                                            )
                                                               )
                                                               )
v.                                                             )            Civil Action No. 21-12871
                                                               )
                                                               )
Oxford Community School District, et. al                       )
                                                               )            Hon. Mark A. Goldsmith
                                                               )
                                                               )
                                                               )

                                                 SUMMONS IN A CIVIL ACTION

To:        Jacquelyn Kubina



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Milica Filipovic
               Fieger, Fieger, Kenney & Harrington
               19390 West Ten Mile Road
               Southfield, MI 48075-2463




       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


.,1,.,$D(66,;, CLERK OF COURT                             By: s/K. Brown
                                                                   Signature of Clerk or Deputy Clerk

                                                                   Date of Issuance: May 31, 2022
         Case 2:21-cv-12871-MAG-APP ECF No. 56, PageID.1255 Filed 05/31/22 Page 8 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 21-12871
                                                               Hon. Mark A. Goldsmith

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Jacquelyn Kubina
 was received by me on (date)                                        .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature


                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
         Case 2:21-cv-12871-MAG-APP ECF No. 56, PageID.1256 Filed 05/31/22 Page 9 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action



                                            UNITED STATES DISTRICT COURT
                                                             for the
                                                  Eastern District of Michigan


Riley Franz, et. al                                            )
                                                               )
                                                               )
v.                                                             )            Civil Action No. 21-12871
                                                               )
                                                               )
Oxford Community School District, et. al                       )
                                                               )            Hon. Mark A. Goldsmith
                                                               )
                                                               )
                                                               )

                                                 SUMMONS IN A CIVIL ACTION

To:        Allison Karpinski



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Milica Filipovic
               Fieger, Fieger, Kenney & Harrington
               19390 West Ten Mile Road
               Southfield, MI 48075-2463




       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


.,1,.,$D(66,;, CLERK OF COURT                             By: s/K. Brown
                                                                   Signature of Clerk or Deputy Clerk

                                                                   Date of Issuance: May 31, 2022
        Case 2:21-cv-12871-MAG-APP ECF No. 56, PageID.1257 Filed 05/31/22 Page 10 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 21-12871
                                                               Hon. Mark A. Goldsmith

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Allison Karpinski
 was received by me on (date)                                       .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                        Server’s signature


                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
        Case 2:21-cv-12871-MAG-APP ECF No. 56, PageID.1258 Filed 05/31/22 Page 11 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action



                                            UNITED STATES DISTRICT COURT
                                                             for the
                                                  Eastern District of Michigan


Riley Franz, et. al                                            )
                                                               )
                                                               )
v.                                                             )            Civil Action No. 21-12871
                                                               )
                                                               )
Oxford Community School District, et. al                       )
                                                               )            Hon. Mark A. Goldsmith
                                                               )
                                                               )
                                                               )

                                                 SUMMONS IN A CIVIL ACTION

To:        Becky Morgan



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               Milica Filipovic
               Fieger, Fieger, Kenney & Harrington
               19390 West Ten Mile Road
               Southfield, MI 48075-2463




       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


.,1,.,$D(66,;, CLERK OF COURT                             By: s/K. Brown
                                                                   Signature of Clerk or Deputy Clerk

                                                                   Date of Issuance: May 31, 2022
        Case 2:21-cv-12871-MAG-APP ECF No. 56, PageID.1259 Filed 05/31/22 Page 12 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 21-12871
                                                               Hon. Mark A. Goldsmith

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Becky Morgan
 was received by me on (date)                                       .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature


                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
